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                                                                                     CLOSING

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



    CHRISTIAN A. BERNAL-DIAZ, et al., on
    behalf of themselves and all other similarly
    situated persons,
                                                              Civil Action No. 17-13702
                         Plaintiffs,
                  v.                                                   ORDER

    MXD GROUP, INC., et al.,

                          Defendants.



          THIS MATTER having come before the Court by way of Defendant MXD Group Inc.

f/k/a Excel Direct Inc.’s (“Defendant” or “MXD”) and Plaintiffs Christian A. Bernal-Diaz,

Radhames Delrosario-Jimenez, Francis Nunez, Emanuel Sena, Wellington Torres, and Charlton

R. Sabina-Bueno on behalf of themselves and all other similarly situatued’s (“Plaintiffs”),

responses 1 to the Court’s January 2, 2018 Order to Show Cause as to why this Court has subject

matter jurisdiction over this action, ECF No. 3; and it appearing that the Honorable Michael

Hammer issued a Report and Recommendation dated May 21, 2018, in which Judge Hammer

recommended that this matter be remanded for lack of subject matter jurisdiction, ECF No. 26;

          and it appearing that neither Defendants nor Plaintiff have filed any objections to the

Report and Recommendation;

          and for the reasons set forth in Judge Hammer’s Report and Recommendation;

          IT IS on this 27th day of June, 2018;



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    See ECF Nos. 6, 8, 9, 12, 15.
                                                   1
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        ORDERED that Judge Hammer’s Report and Recommendation dated May 21, 2018, is

ADOPTED; and it is further

        ORDERED that this case is remanded to state court for lack of federal subject matter

jurisdiction.



                                                  /s Madeline Cox Arleo___________
                                                  HON. MADELINE COX ARLEO
                                                  UNITED STATES DISTRICT JUDGE




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